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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

CYBERCREEK ENTERTAINMENT, LLC,
Plaintiff, DECISION AND ORDER

V. l:l6-CV-OO424 EAW

U.S. UNDERWRITERS lNSURANCE
COMPANY,

Defendant.

 

INTRODUCTION

This matter Was removed to this Court based on diversity jurisdiction on May 27,
2016. (Dkt. l). Plaintiff Cybercreek Entertainment, LLC (“Plaintiff’) claims that
Defendant U.S. Underwriters lnsurance Company (“Defendant”) breached its insurance
contract vvith Plaintiff, that Plaintiff thereafter suffered a loss, and that Plaintiff is entitled
to actual and punitive damages (Dkt. l-l). '

On June 3, 2016, Defendant moved to dismiss the complaint pursuant to Fed. R.
Civ. P. lZ(b)(6) for failure to state a claim. (Dkt. 6). Defendant argues that the policy
Was cancelled according to the terms of the contract before the loss occurred, and,
therefore, no breach occurred (Dkt. 6-5 at 9-ll). Defendant alternatively argues that
punitive damages are not available under Nevv York State laW, so even if the complaint is

not dismissed in its entirety, Plaintiff’s punitive damages claim must be dismissed (Id. at

11-16).

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Because Plaintiff has failed to state a cause of action, Defendant’s motion to

dismiss is granted
FACTUAL BACKGR()UND

According to the complaint, Plaintiff and Defendant entered into three contracts,
insuring Plaintiff against physical damage and business losses to Plaintiff’s restaurant and
outdoor and indoor driving range for golf. (Dl<t. l-l at 3-5). The final policy, and the
one at issue in this action, number CP3554324C, Was issued on April 26, 2014, and Was
set to expire on April 26, 2015. (Id. at ‘H 7). The policy covered commercial property
damage, With building damage coverage up to $900,000.00, and business damage
coverage up to $lS0,000.00. (Id. at il 8).

The insurance policy at issue included a cancellation clause.l The clause

provided:

 

l A copy of the insurance policy contract and the cancellation notice Were attached

by Defendant as part of its motion to dismiss. (Dkt. 6-4). Neither the policy nor the
cancellation notice Was attached to the complaint (See Dkt. l). Despite that fact, the
Court can properly consider them in determining the motion to dismiss Without
converting it to one for summary judgment See Roth v. Jennz`ngs, 489 F.3d 499, 509 (2d
Cir. 2007) (holding that even if not attached to the complaint, a document Which is
“z'ntegml to the complaint may be considered by the court in ruling on [a Rule lZ(b)(G)]
motion.” (emphasis in original) (internal citations omitted)); Cortec Indus., Inc. v. Sum
Holdz`ng L.P., 949 F.Zd 42, 47~48 (2d Cir. l99l) (“Where [the] plaintiff has actual notice
of all the information in the movant’s papers and has relied upon these documents in
framing the complaint the necessity of translating a Rule lZ(b)(G) motion into one under
Rule 56 is largely dissipated.”). Plaintiff expressly references the policy and the policy’s
cancellation in the complaint (Dkt l-l at 1[1]'7, 12). Plaintiff’s claims for breach of
contract require the existence of an underlying contract. The alleged breach occurred
because Defendant cancelled the policy “unilaterally.” (Ia’. at 1[ 12). This makes the
policy and the cancellation notice “integral” to the complaint, and they are properly
considered by the Court in deciding the motion to dismiss, Without converting the motion
to one for summary judgment See Roth, 489 F.3d at 509. lndeed, in opposition to the

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[Defendant] may cancel [the] policy by mailing or delivering to [Plaintiff]
Written notice of cancellation at least:
a. 10 days before the effective date of cancellation if [Defendant]
cancel[s] for nonpayment of premium; or
b. 30 days before the effective date of cancellation if [Defendant]
cancel[s] for any other reason.
(Dkt. 6-4 at 12). It also provided that Plaintiff could cancel the policy “by mailing or
delivering to [Defendant] Written notice of cancellation.” (Ia’.). There Were no
restrictions placed on Plaintiff’s ability to cancel the contract at Will. (See id.).
Cancellation by Plaintiff did not require advance notice, as it did for Defendant (See
id.).

Plaintiff alleges that it made multiple improvements to its property upon the
recommendation of Defendant. (Dkt. 1-1 at 1111 9-10). The parties agree that Plaintiff Was
under no obligation to make such improvements (]d. at 11 11; Dkt. 6-5 at 6).

Plaintiff claims that after it attempted to make the improvements, Defendant
cancelled the policy by providing Written notice on August 27, 2014, effective September
3(), 2014. (Dkt. 1-1 at 11 12). Plaintiff seems to argue that the cancellation Was premised

on Plaintiffs inability to make the recommended improvements, and, therefore,

Defendant’s cancellation constituted a breach of the contract.2 (See z`d. at 1111 10-14).

 

motion to dismiss, Plaintiff voices no objection to the Court’s consideration of the
insurance policy contract and the cancellation notice. (See Dkt. 12).

2 Plaintiff provides additional factual allegations in its response to Defendant’s
motion. (See Dkt. 12 at 3-4). ln deciding a Rule 12(b)(6) motion, the Court is generally
limited to reviewing “the allegations contained Within the four corners of [Plaintiffs]
complaint.” Pcmi v. Empz're Blue Cross Blue Shield, 152 F.3d 67, 71 (2d Cir. 1998); see,
e.g., Frz`edl v. Cily ofNew York, 210 F.3d 79, 83-84 (2d Cir. 2000) (fmding that a district
court errs if, in deciding a Rule l2(b)(6) motion, it “relies on factual allegations contained

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Plaintiff alleges that after Defendant cancelled the policy, snow and ice damaged
the building, “causing a collapse of a portion of the property” and actual damages,
including loss of business, totaling $800,000.00. (Id. at 111 16-19). Plaintiff also asserts
that it is entitled to punitive damages ([d. at jj 21).

DISCUSSION
I. Standard of Review

“A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) tests the
legal sufficiency of the party’s claim for relief.” Zucco v. Auz‘o Zone, Inc., 800 F. Supp.
2d 473, 475 (W.D.N.Y. 2011). A,court should consider the motion “accepting all factual
allegations in the complaint and drawing all reasonable inferences in the plaintiffs
favor.” Ruotolo v. Cily ofNew York, 514 F.3d 184, 188 (2d Cir. 2008) (quoting ATSI
Commc’ns, [nc. v. Shaar Funa’, Ltcz’., 493 F.3d 87, 98 (2d Cir. 2007)). To Withstand
dismissal, a plaintiff must set forth “enough facts to state a claim to relief that is plausible
on its face.” BellAtl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

“While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need
detailed factual allegations, a plaintiffs obligation to provide the ‘grounds’ of his
‘entitlement to relief requires more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action Will not do.” ]d. at 555 (citations omitted).

 

in legal briefs or memoranda.”). Unlike the Court’s consideration of the insurance policy
or the cancellation notice, Plaintiffs additional factual allegations Were neither integral
nor relied upon in framing the complaint See Roth, 489 F.3d at 509; Cortec Indus., 949
F.2d at 47-48. Therefore, the Court does not rely on any additional facts included in
Plaintiffs response papers in deciding the instant motion. Hovvever, even if the Court did
consider these additional facts, the result Would be no different because the additional
facts do not alter the inescapable conclusion that Plaintiff has failed to state a claim.

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Thus, “at a bare minimum, the operative standard requires the plaintiff to provide the
grounds upon which his claim rests through factual allegations sufficient to raise a right
to relief above the speculative level.” Goldstez`n v. Patakz', 516 F.3d 50, 56-57 (2d Cir.
2008) (citations omitted).

II. Analysis

As discussed below, Plaintiff has failed to establish that there was a breach of
contract Plaintiff s arguments that the policy termination clause is unconscionable and
ambiguous fail as a matter of law. Therefore, the complaint must be dismissed

A. Plaintiff Failed to Sufflcientlv Plead a Breach of Contract

Defendant argues that Plaintiff has not sufficiently alleged that Defendant
breached the contract, and, therefore, Plaintiff has failed to state a claim upon which
relief can be granted The Court agrees.

Under New York law, a breach of contract claim has four elements: “(1) a
contract; (2) performance of the contract by one party; (3) breach by the other party; and
(4) damages.” Fz`rst lnv’rs Corp. v. Lz`berly Mut. Ins. Co., 152 F.3d 162, 168 (2d Cir.
1998). A plain reading of the complaint establishes the first, second, and fourth elements
(See Dkt. 1). However, Plaintiff has failed to sufficiently allege a breach.

“[W]here the parties have agreed to a termination clause, it must be enforced as
written.” In re Gordon Car & Truck Rem‘al, lnc., 59 B.R. 956, 959 (Bankr. N.D.N.Y.
1985) (quoting Noah v. L. Dczz'tch & Co., 22 Misc. 2d 649, 652 (S. Ct. N.Y. Co. 1959)).
New York law allows for termination without cause when the parties have so agreed

Red Apple Chl`ld Dev. Cir. v. ley. Sch. Dists. Two, 303 A.D.2d 156, 157-58 (lst Dep’t

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2003) (“It is a well-established principle of law that when a contract affords a party the
unqualified right to limit its life by notice of termination[,] that right is absolute and will
be upheld in accordance with its clear and unambiguous terms. . . . Such a termination is
enforceable regardless of the cause of termination.”); See, e.g., Matter of Chang v. Dep’t
of Educ. of Cily of New York, 137 A.D.3d 597, 597 (lst Dep’t 2016) (upholding a
contract which “afforded respondents the unconditional right to terminate the contract
without cause. . . .”). Where a cancellation clause is silent as to whether “cause” is
required to cancel the contract, New York law requires that a court infer that the contract
is terminable without cause. See Joseph Vz'ctorz` Wz'nes, Inc. v. Vl'na Santa Carolz'na S.A.,
933 F. Supp. 347, 352 (S.D.N.Y. 1996) (“[W]here a contract containing a written
termination clause is silent as to whether cause is required for termination, the contract is
terminable without cause.”).

Pursuant to New York lnsurance Law §3426, certain statutory restrictions are
placed on the ability to cancel a policy of commercial risk insurance. However, § 3426
does not apply to policies written on an excess line basis. N.Y. Ins. Law § 3426(1)(2).
Defendant asserts that it is an excess-line broker under New York lnsurance Law (Dkt. 6~
5 at 10),3 and the insurance policy indicates that Defendant is not subject to the
requirements of New York lnsurance Law (Dkt. 6-4 at 5). This status allows Defendant
to sell insurance underwritten by carriers who are otherwise unauthorized to provide

insurance in New York state. See N.Y. Ins. Law §§ 2105, 2117(h)(3); John Paterno, Inc.

 

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at 8).

Plaintiff “takes no position on Defendant’s excess line carrier status. . . .” (Dkt. 12

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By & Through Paterno v. Curz`ale, 88 N.Y.2d 328, 332 (1996) (“A significant exception
to [the rule that unauthorized insurers cannot sell insurance in New York] is that certain
brokers, known as excess line brokers, are permitted by statute to procure insurance from
unauthorized insurers.”). Because the § 3426 requirements do not apply to an excess-
line insurance contract, the cancellation of such a policy “need only comply with the
terms of the [p]olicy itself.” Kz`nsale Ins. Co. v. OBMP NY, LLC, 171 F. Supp. 3d 277,
282 (S.D.N.Y. 2016). Here, Plaintiff has made no allegations in the complaint that
Defendant has cancelled the policy in violation of § 3426, or any other provision of New
York lnsurance Law. (See Dkt. 1; see, e.g., Dkt. 12 at 8 (stating that Plaintiff “does not
seek damages for violation of New York lnsurance Law § 3426.”)). Rather, Plaintiff
relies upon a common law breach of contract theory. Therefore, the cancellation
requirements of § 3426 are inapplicable, and the viability of Plaintiffs breach of contract
claim must be assessed based on the policy’s language alone.

Plaintiff has not specifically pointed to any part of the insurance policy contract
allegedly breached by Defendant (See Dkt. 1-1 at 1111 1-21). Plaintiff asserts only that
Defendant was “unjustified” in requesting non-mandatory improvements to the building,
and that “the actions of the Defendant constituted a breach of the contract . . .” (Id. at 5).
However, by Plaintiff s own admission, the policy was cancelled with sufficient notice
according to the policy’s cancellation clause. (See id. at jj 12 (“[T]he Defendant . . . on or
about August 27, 2014 unilaterally cancelled the policy . . . effective September 30,

2014.”)).

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Plaintiff forwards a conclusory argument that the policy was “wrongfully
terminated.” (Dkt. 12 at 6). The clear terms of the policy allowed Defendant to cancel
the policy for “any” reason, as long as Defendant provided 30-days’ notice. (Dkt. 6-4 at
12). Even if the cancellation clause could be read as being silent on whether cause was
required to cancel the policy_which it cannot_the Court must assume that the policy
was terminable without cause. See Joseph Vz'ctorz’ Wz`nes, Inc., 933 F. Supp. at 352.
Defendant’s reason for cancelling the contract is wholly immaterial to this Court’s
analysis See Brown v. Relsosz`n. Co., 127 A.D. 368, 372 (2d Dep’t 1908) (“ln view of
the defendant's absolute right [to cancel the contract] in the exercise of discretion which
was not subject to review, it is clearly unimportant to consider the question whether the
defendant was actuated by some ulterior motive.”); Dz'v. of Trz'ple T Serv., Inc. v. Mobz'l
Oil Corp., 60 l\/lisc. 2d 720, 726 (S. Ct. Westchester Co. 1969) (“[W]here a contract gives
either party thereto the absolute unqualified right to terminate upon notice, the court is
precluded from inquiring whether such termination was actuated by an ulterior motive.”),
a]j"d 34 A.D.2d 618 (2d Dep’t 1970). Defendant had an unqualified right to terminate
after providing 30-days’ notice. Defendant cancelled the policy after providing more that
30-days’ notice, which Plaintiff acknowledges in the complaint (See Dkt. l-l at 11 12).
The Court need not adjudicate Defendant’s motivation for doing so. See Dz'v. of Trz'ple T
Serv., 60 l\/lisc. 2d at 726. Plaintiff failed to sufficiently plead its breach of contract

claim, and, therefore, the claim must be dismissed

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B. Plaintiff’s Other Arguments Do Not Provide Grounds for Refusing to
Dismiss the Complaint

In opposition to the instant motion, Plaintiff advances two arguments not included
in the complaint_that the cancellation clause is unconscionable, and that it is ambiguous
(Dkt. 12 at 6-8). Neither assertion was raised in the “four corners” of the complaint, and,
therefore, neither is properly before the Court. See Pam' v. Empz're Blue Cross Blue
Shiela’, 152 F.3d 67, 71 (2d Cir. 1998). Out of an abundance of caution, the Court
addresses these claims on the merits below, and finds that neither argument provides a
basis for relief from dismissal.

To be clear, although Plaintiff does not request leave to amend the complaint to
include these arguments even if it had, leave to amend would not be appropriate because
any amendment to assert Plaintiff s unconscionability or vagueness theories would be
futile. Shell v. Brzezm`czk, 365 F. Supp. 2d 362, 367 (W.D.N.Y. 2005) (“[N]o amendment
should be allowed if [the] plaintiff could not prevail on an amended claim because it is
futile or untimely, because it fails to state a claim, or because the movant engaged in
undue delay.”) (citing Mz`lanese v. Rust-Oleum Corp., 244 F.3d 104, 110 (2d Cir. 2001)).

1. The Policv Cancellation Clause is Not Unconscionable

The Court first addresses Plaintiff s argument that the cancellation clause is

unconscionable (See Dkt. 12 at 6-7). As explained by the Second Circuit:

Under New York law, a contract is unconscionable when it is “so grossly
unreasonable or unconscionable in the light of the mores and business
practices of the time and place as to be unenforceable . . . according to its
literal terms.” Gz`llman v. Chase Manhatz‘an chk, N.A., 73 N.Y.2d 1, 10,
537 N.Y.S.Zd, 534 N.E.2d 824 (1988). Generally, there must be a showing

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that such a contract is both procedurally and [substantively]
unconscionable See id. “The procedural element of unconscionability
concerns the contract formation process and the alleged lack of meaningful
choice; the substantive element looks to the content of the contract, per se.”
Sz‘ate v. Wolowz`tz, 96 A.D.Zd 47, 468 N.Y.S.2d 131, 145 (1983); See also
Desz`derz'o v. Natz'onczl Ass’n of Sec. Dealers, Inc., 191 F.3d 198, 207 (2d
Cir. 1999) (“A contract or clause is unconscionable when there is an
absence of meaningful choice on the part of one of the parties together with
contract terms which are unreasonably favorable to the other party.”
(quotation marks omitted)).

Ragone v. Atl. Vz'deo at Manhattan Ctr., 595 F.3d 115, 121-22 (2d Cir. 2010) (quoting
Nayal v HIP Network Servs. [PA, Inc., 620 F. Supp. 2d 566, 571 (S.D.N.Y. 2009)).
Unconscionability is determined at the time of the contract N.Y. U.C.C. §2-302(1).
“Absent some violation of law or transgression of a strong public policy, the parties to a
contract are basically free to make whatever agreement they wish, no matter how unwise
it might appear to a third party.” Rowe v. Great Atl. & Pac. Tea Co., Inc., 46 N.Y.2d 62,
67-68 (1978). Unless there is “substantive unconscionability or fraud . . . , parties are
charged with knowing and understanding the contents of documents they knowingly
sign.” Horvath v. Banco Comercz'al Portugues, S.A., 461 F. App’x 61, 63 (2d Cir. 2012).

Plaintiff alleges that the insurance policy was procedurally unconscionable
because Plaintiff s signatory “had no meaningful opportunity to negotiate” the specific
terms of the policy. (Dkt. 12 at 7). Plaintiff further claims that the agreement was
substantively unconscionable because it was one-sided and left “Plaintiff with no

recourse.” (Ia’.). Neither argument has merit

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Procedural unconscionability examines the contract-formation process and focuses
on “the size and commercial setting of the transaction, whether deceptive or high-
pressured tactics were employed, the use of fine print in the contract, the experience and
education of the party claiming unconscionability, and whether there was disparity in
bargaining power.” Gz'llman, 73 N.Y.2d at 11 (internal citation omitted); see, e.g., Dallczs
Aerospace, Inc. v. CIS Az'r Corp., 352 F.3d 775, 787 (2d Cir. 2003). “ln a commercial
transaction by business people in a commercial setting, under terms that are standard in
the trade, the factual predicate gives rise to a presumption of lack of unconscionability.”
Bank ofAm., N.A. v. Frz'edman Furs & Fashz'on, LLC, 38 Misc. 3d 1201(A), at *7 (S. Ct.
Kings Co. 2012) (holding that an experienced business person, who had been operating a
profitable business for years, “cannot claim that they are commercially illiterate”)
(internal citation omitted). A signatory’s prior commercial experience weighs against a
finding of a lack of sophistication sufficient to establish procedural unconscionability
See Gun Hz'll Road Serv. Statz'on, Inc. v. ExxonMobl`l Oz`l Corp., No. 08 Civ. 7956(PKC),
2013 WL 1804493, at *11 (S.D.N.Y. Apr. 18, 2013) (asserting that significant prior
experience in an industry weighed against finding procedural unconscionability where the
signatory failed to read an agreement or consult with an attorney about its terms);
Dczbrz'el, Inc. v. Fz`rst Pamdz'se Theaters Corp., 99 A.D.3d 517, 520 (lst Dep’t 2012)
(finding that a signatory did not lack sophistication when he had previously entered into
leases and acted as a principal of the entity at issue).

Here, Plaintiff claims that its signatory was “neither a legal, nor insurance

professional.” (Dkt. 12 at 7). The insurance policy contracts were made in a commercial

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setting Lack of experience can be a factor in determining procedural unconscionability,
but Plaintiff s conclusory allegations are not sufficient to establish a basis for such a
finding here. Plaintiff provides no information about the identity or background of its
signatory. (See id.). Plaintiff has made no allegations that its signatory was
inexperienced in running a business, and the complaint suggests that the business
operated for at least three years before the cancellation of the insurance policy. (See Dkt.
1-1 at 1111 5-7). Plaintiff entered into at least two insurance policy contracts before the one
at issue here. (See id.).

Plaintiff has also not alleged that it lacked meaningful choice in entering into the
agreements Although Plaintiff claims that it had no opportunity to negotiate specific
terms of the policy, “[i]t is noteworthy that [Plaintiff was] free to walk away from
the . . . negotiations at any time” and obtain insurance from another provider. See
Dabrz'el, Inc., 99 A.D.3d at 520 (quoting Accurate Copy Serv. of Am., Inc. v. Fisk Bla’g.
Assoc. L.L.C., 72 A.D.3d 456, 457 (1st Dep’t 2010)). After Defendant cancelled the
policy, Plaintiff attempted to do just that (See Dkt. 12 at 6). Furthermore,
disproportionate negotiating strength_-in itself-is not a basis for a finding of procedural
unconscionability. See Mz`ckle v. Chrz'stz`e’s, Inc., 207 F. Supp. 2d 237, 253 (S.D.N.Y.
2002) (“Were disproportionate negotiating strength by itself to serve as ground to
invalidate business transactions every form of commerce through the country, and even
beyond, would be immediately threatened or paralyzed.”). Plaintiff has not alleged that
its negotiating power was grossly inequitable See Gillman, 73 N.Y.2d at 10. Similarly,

Plaintiff has not asserted that Defendant engaged in high-pressure sales tactics or that

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Defendant used fine print to hide the cancellation terms In sum, Plaintiff has failed to
cite to any procedural unconscionability

Plaintiff has also failed to allege a meritorious theory of substantive
unconscionability Unconscionability can be established, in rare cases, by a showing of
substantive unconscionability alone Id. at 12. Contract terms are substantively
unconscionable when they are unreasonably balanced in favor of one party over the other.
[d. at 10; see, e.g., Dassero v. Edwards, 190 F. Supp. 2d 544, 553 (W.D.N.Y. 2002).
“There is no general test for measuring the reasonableness of a transaction . . .” Sablosky
v. Edward S. Gordon Co., Inc., 73 N.Y.2d 643, 647 (1989). However, a clause which
equally binds the parties is not substantively unconscionable See Nayal, 620 F. Supp. 2d
at 573. Examples of terms which are substantively unconscionable include “inflated
prices unfair termination clauses, unfair limitations on consequential damages and
improper disclaimers of warranty . . . [and] contract provisions that are oppressive,
unjust, and unreasonably deprive a party of the benefits of his or her bargain.” Day Op of
N. Nassau, Inc. v. Vz`ola, 16 Misc. 3d 1122(A), at *6 (S. Ct. Nassau Co. 2007).
“Termination clauses exercisable by either party upon reasonable notice have invariably
been upheld by the courts . . .” Dz'v. ofTrzple TServ., 60 Misc. 2d at 726.

Contrary to Plaintiffs assertion,4 the cancellation clause is not substantively

unconscionable under New York law. The cancellation clause was not “one-sided,” as

 

4 Plaintiff cites Kuzma v. Protectz've Ins. Co., 32 l\/lisc. 3d 1217(A) (S. Ct. Queens
Co. 2011) for the proposition that a cancellation provision such as the one at issue here is
“so one-sided [that it] must be found unconscionable and unenforceable . . .” (Dkt. 12 at
6). Plaintiffs reliance on Kuzma is-at best-misplaced. The decision cited by Plaintiff

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Plaintiff claims (See Dkt. 12 at 6). Neither side was required to show “cause” before
terminating the policy. (See Dkt. 6-4 at 12). Defendant could cancel the policy by
providing notice, in writing, at least 30 days before the effective date of cancellation
(Ia’.). Plaintiff could cancel the policy at any time “by mailing or delivering to
[Defendant] advance written notice of cancellation.” (Id.). Plaintiff was not required to
provide 30-days’ notice (See id.). The cancellation policy provided equal, if not better,
terms to Plaintiff than to Defendant This weighs heavily against any finding of
substantive unconscionability See Nayal, 620 F. Supp. 2d at 573.

Plaintiff also asserts that the clause was substantively unconscionable because
Plaintiff would have no recourse to Defendant’s decision to cancel the policy. (Dkt. 12 at
7). As described above, cause was not required for Defendant to cancel the policy. New
York law allows for termination without cause when the parties have so agreed, which
they did here See Red Apple Chz`lcl Dev. Ctr., 303 A.D.2d at 157-58. The terms of the
cancellation clause are clearly enforceable under New York law, and, therefore, are not
substantively unconscionable

“[T]he unconscionability doctrine is not designed ‘to redress . . . inequality

between the parties but simply to ensure that the more powerful party cannot surprise the

 

was overturned on direct appeal by the Second Department. See Kuzma v. Protectz`ve Ins.
Co., 104 A.D.3d 820 (2d Dep’t 2013). The Appellate Division found numerous errors in
the trial court’s decision. See id. The trial court applied New York state
unconscionability law, though it was required to apply lndiana unconscionability law.
Kuzma, 104 A.D.3d at 821. Further, the trial court misapplied New York law, finding
unconscionability when, in fact, the law did not support such a finding Id. And, even if
the trial court’s decision had not been overturned on direct appeal, the case would have
little relevance to the facts at issue in this case because Kuzma dealt with a contractual
statute of limitations not a cancellation clause See Kuzma, 32 Misc. 3d 1217(A) at *4.

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other party with some overly oppressive term.”’ In re Conifer Really LLC (Envz`roTech
Servs., ]nc.), 106 A.D.3d 1251, 1255 (3d Dep’t 2013) (quoting Brower v. Gateway 2000,
246 A.D.3d 246, 253 (1st Dep’t 1998)). The terms of the cancellation clause were not
overly oppressive, and were evenly balanced Because Plaintiff has not sufficiently
alleged facts supporting either procedural or substantive unconscionability, Plaintiffs
unconscionability claim fails, and any amendment to the complaint would be futile See
Shell, 365 F. Supp. 2d at 367.
2. The Cancellation Provision is Not Ambiguous

Plaintiff also argues that the cancellation clause is unenforceable because i_t is
ambiguous (Dkt. 12 at 7-8). Specifically, “Plaintiff argues that the [cancellation
language] gives an insured party absolutely no notice as to what actions may or may not
be taken to avoid short-notice termination of a policy it had otherwise complied with in
good faith.” (Id. at 8). As is explained above, New York law allows for contract
termination without cause See Red Apple Chz`ld Dev. Ctr., 303 A.D.2d at 157-58.
Plaintiff does not explain how the cancellation clause, which allowed for termination “for
any other reason,” was impermissibly vague (See Dkt. 12 at 7-8).

lf ambiguity is found in an insurance contract, the language is to be “strictly
construed against the insurer.” Gov’t Emps. Ins. Co. v. Mz'zell, 36 A.D.2d 452, 454 (4th
Dep’t 1971). “But, when the policy’s provisions are unambiguous and intelligible, courts
should enforce them as drafted.” Rockland Expositz`on, lnc. v. Great Am. Assumnce Co.,
746 F. Supp. 2d 528, 538 (S.D.N.Y. 2010) (citing Pczrks Real Estate Purchasz`ng Grp. v.

St. Paul Fz`re & Marz'ne Ins. Co., 472 F.3d 33, 42 (2d Cir. 2006)). Language in an
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insurance contract is ambiguous when it is subject to more than one reasonable
interpretation See Cont’l Cas. Co. v. Rczpz`d-Am. Corp., 80 N.Y.2d 640, 652 (1993).
Terms must be interpreted “in light of common speech and the reasonable expectations of
a businessperson.” Parks Real Estale Purchasz`ng Grp., 472 F.3d at 42 (quoting Pepsico,
Inc. v. Wz'nterthur [nt’lAm. Ins. Co., 13 A.D.3d 599, 600 (2d Dep’t 2004)).

Contrary to Plaintiff s conclusory argument there is no ambiguity in the
cancellation policy’s language The policy provides that, with sufficient notice,
Defendant can cancel the policy “for nonpayment of premium; or . . . for any other
reason.” (Dkt. 6-4 at 12). Under common usage, “any other reason” is not open to more
than one interpretation_Defendant could rely on whatever ground or cause it wanted to
cancel the policy, as long as it provided the required notice Because Plaintiff has not
even attempted to show where there was ambiguity in the language of the policy, and
because the Court has found none, Plaintiff s argument fails Additionally, any
amendment to add such an argument to the complaint would be futile, as the terms of the
contracts are plainly unambiguous

CONCLUSION
For the foregoing reasons, Defendant’s motion to dismiss (Dkt. 6) is granted, and

the complaint is dismissed

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SO ORDERED.

 

 

 

ELIZA
` ed States District Judge

Dated: December 20, 2016
Rochester, New York

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